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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

  ROPER TECHNOLOGIES, INC.,

         Plaintiff,
                                                      CASE NO. 8:17-cv-1522-T-33MAP
  v.

  ANTHONY LYSENKO,

         Defendant.
                                       /

                              FIRST AMENDED COMPLAINT

         Plaintiff Roper Technologies, Inc. (“Roper”), by and through its undersigned counsel,

  hereby sues Defendant Anthony Lysenko, formerly known as John Doe, (“Lysenko”), and

  states as follows:

                                 NATURE OF THE ACTION

         1.      This is an action for violation of the Computer Fraud and Abuse Act against

  an individual who is continuously attempting to improperly access Roper’s online treasury

  management system without authorization.

                                   PARTIES AND VENUE

         2.      Plaintiff Roper is a Delaware corporation with its principal place of business

  at 6901 Professional Parkway East, Suite 200, Sarasota, Florida 34240.

         3.      Roper is a global marketer of engineered products and solutions for niche

  markets including software information networks, medical, water, energy, and transportation.
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         4.      As of the date of Roper’s filing of this Amended Complaint, the identity of

  “John Doe” a/k/a “alys” is now known to Roper as Anthony Lysenko. Therefore, Roper

  brings this action against the said Defendant as Anthony Lysenko

         5.      Defendant Lysenko is an individual who, upon information and belief, resides

  at 19341 Wind Racer Street, Lutz, Hillsborough County, Florida 33558-9055.

         6.      Lysenko has made multiple unauthorized attempts to access Roper’s online

  treasury management system without authorization, which constitutes a violation of the

  Computer Fraud and Abuse Act, 18 U.S.C. § 1030, et seq.

         7.      Based on the above allegations, this Court has personal and subject matter

  jurisdiction over this matter.

         8.      Venue over Roper’s claim is proper in this Court pursuant to 28 U.S.C.

  § 1391.

                                   FACTUAL BACKGROUND

         9.      Roper stores confidential financial information in its online treasury

  management system. To protect this information, Roper has made substantial investments to

  ensure that this information is secure. These investments include unique usernames and

  passcodes, limiting access to those with a specific need to access the information, and active

  monitoring of the system for unauthorized access.

         10.     Recently, Roper’s information technology professionals observed multiple

  attempts by Lysenko to improperly access Roper’s online treasury management system.

         11.     Lysenko is a former employee of Roper.




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          12.    Lysenko is attempting to hack into Roper’s servers from IP address

  72.186.115.192 using the account name “alys.”

                                    COUNT ONE
                           VIOLATION OF 18 U.S.C. § 1030, et seq.
                           COMPUTER FRAUD AND ABUSE ACT

          16.    Roper hereby incorporates by reference, as if fully stated herein, all the

  preceding paragraphs of this complaint.

          17.    Roper’s computers and online treasury management system are used in

  interstate commerce to conduct business in many different states.

          18.    Roper’s treasury management system contains highly sensitive and

  confidential financial information.

          19.    Lysenko is not one of the individuals authorized to access Roper’s computers

  and online treasury management system.

          20.    Lysenko, without authorization, has intentionally attempted to access

  protected computers and servers, and thereby obtain confidential and protected information

  of Roper.

          21.    Lysenko knowingly and intentionally continues to attempt to hack and

  inappropriately access protected computers for the purpose of advancing his or her personal

  interests.

          22.    Lysenko’s attempts to access the online treasury system were committed with

  the intent to defraud and gain access to confidential information about Roper.

          23.    Lysenko engaged in all of the above-described acts with a knowing or

  intentional state of mind.




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         24.    As a result of Lysenko’s conduct, within less than one year’s time, Roper has

  incurred substantial damages in excess of $5,000.00.

         WHEREFORE, Roper prays for

         A.     Compensatory, statutory, and punitive damages;

         B.     Injunctive relief;

         C.     Reasonable attorneys’ fees and other litigation costs;

         D.     Treble damages; and

         D.     Any further relief the Court deems just and appropriate.



  Dated: October 18, 2017.             Respectfully Submitted,


                                By:    /s/ Emily Y. Rottmann
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